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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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11   CALIFORNIA RIFLE & PISTOL                     Case No. 2:23-cv-10169-SPG-ADS
     ASSOCIATION, INCORPORATED; et
12   al.,
13                             Plaintiffs,         ORDER GRANTING IN PART AND
14                v.                               DENYING IN PART JOINT
                                                   STIPULATED REQUEST FOR
15                                                 EXTENSION OF CASE DEADLINES
     LOS ANGELES COUNTY SHERIFF’S
16   DEPARTMENT; et al.,
17                             Defendants.
18
19      On March 13, 2025, the parties filed a Joint Stipulated Request for Extension of Case
20   Deadlines (ECF No. 88 (“Stipulation”)) to modify the Court’s Civil Pretrial Schedule and
21   Trial Order (ECF No. 92 (“Order”)), for an extension of approximately 60 days on all
22   deadlines in the Order. The Court, having considered the Stipulation, and good cause
23   appearing, hereby GRANTS IN PART and DENIES IN PART the Stipulation, and extends
24   the deadlines in the case as follows:
25         1. The date for Fact Discovery Cut-Off is extended to June 30, 2025;
26         2. The date for Initial Expert Disclosure is extended to June 13, 2025;
27         3. The date for Rebuttal Expert Disclosure is extended to July 22, 2025;
28         4. The date for Expert Discovery Cut-Off is extended to July 29, 2025;


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